                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

KEITH ORBIE JAMES,                      )
                                        )
                   Petitioner,          )
                                        )          1:16CV471
            v.                          )          1:09CR190-3
                                        )
UNITED STATES OF AMERICA,               )
                                        )
                   Respondent.          )


                                      ORDER

      The Recommendation of the United States Magistrate Judge was filed with

the court in accordance with 28 U.S.C. § 636(b) and, on February 5, 2020, was

served on the parties in this action. [Docs. #180, #181.] Petitioner objected to the

Recommendation. [Doc. #183.]

      The court has appropriately reviewed the portions of the Magistrate Judge’s

report to which objection was made and has made a de novo determination which

is in accord with the Magistrate Judge’s report. The court therefore adopts the

Magistrate Judge’s Recommendation.

      IT IS THEREFORE ORDERED that the stay in this matter is LIFTED, that

Petitioner’s motion to vacate, set aside or correct sentence [Doc. #166] is DENIED,

that his motion for the appointment of counsel [Doc. #176] is DENIED as moot,

that his motion to terminate counsel of record and for appointment of counsel

[Doc. #179] is DENIED as moot. A judgment dismissing this action will be entered

contemporaneously with this Order. Finding no substantial issue for appeal




       Case 1:09-cr-00190-NCT Document 196 Filed 09/25/20 Page 1 of 2
concerning the denial of a constitutional right affecting the conviction, nor a

debatable procedural ruling, a certificate of appealability is not issued.

      This the 25th day of September, 2020.


                                              /s/ N. Carlton Tilley, Jr.
                                         Senior United States District Judge




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                                           2



        Case 1:09-cr-00190-NCT Document 196 Filed 09/25/20 Page 2 of 2
